                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION
                                NO: 1:08-CR-55-2


UNITED STATES OF AMERICA,                     )
                                              )
               Plaintiff,                     )
                                              )
vs.                                           )               ORDER
                                              )
EDWARD WILLIAM WAHLER,                        )
                                              )
               Defendant.


        THIS MATTER IS BEFORE THE COURT upon the pro se Defendant Edward W.

Wahler’s “Motion for Copy of Public Defender Agreement” filed on October 17, 2008. (Document

Nos. 56). The Magistrate Judge will deny the motion for the following reasons:

        In his own words, the Defendant requests an order directing the “Clerk of Court to produce

and turnover a copy of the Public Defender Agreement, if any with the court and any and all court

parties, officers, etc. for review in line with defendant’s right to due process and for appeal.” The

Defendant’s motion is unclear as to the identity or purpose of the document sought. The Court

cannot discern the Defendant’s intent or what document he is actually seeking. .

        IT IS, THEREFORE, ORDERED that Defendant Edward Wahler’s “Motion for Copy of

Public Defender Agreement” (Document No. 56) is DENIED without prejudice.

        IT IS SO ORDERED.                         Signed: January 13, 2009




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